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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

NORBERT CHUNG,

Plaintiff,
No, 21 C 1650
Vv.
Jeffrey T. Gilbert

ARTHUR J. GALLAGHER & CO. and United States Magistrate Judge
ARTHUR J. GALLAGHER
COMPENSATION COMMITTER,

Defendants,

ORDER
In an Order entered on January 17, 2025 [ECF No. 209], the Court ordered

Defendants to submit to the Court for in camera inspection the document that is the
subject of Plaintiffs Second Motion to Compel Production of Documents [ECF Nos.
112, 113] (“Motion”). Defendants’ counsel submitted via email to the Court a copy of
the document (hereinafter referred to as “the document”), which contains a chain of
four email communications, for review on January 22, 2025. Later that same day, at
the Court's request, Defendants also submitted to the Court the privilege log entry
fox the document in question. Having now reviewed the document in dispute, and
having had an opportunity to discuss the document with the parties at a status
hearing held on January 30, 2025, the Court denies Plaintiff's Motion for the reasons
discussed below.

As an initial matter, as discussed in the Court’s previous Order [ECF No, 209],
the Court does not agree with Plaintiff that Defendants waived any privilege

objection to the document by their conduct leading up to Plaintiff filing his Motion
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and afterwards. The Court already has addressed Defendants’ conduct in first
denying that any document on their privilege log contained the word “severance,”
followed by some backtracking on that denial, and then their refusal to identify the
privilege log entry in question. See 1/17/25 Order [ECF No. 209]. The Court does not
condone Defendants’ conduct, and it made that point clear in its prior Order. Id. But
the Court disagrees with Plaintiff that Defendants waived any privilege that
otherwise might attach to the document by engaging in that conduct. Nothing that
Defendants did amounts to the intentional relinquishment of a known right in the
classic sense of waiver, and the Court also does not believe Defendants’ conduct
merits a finding that they waived any privilege that might attach to the document.
The Court previously ordered Defendants to provide Plaintiff with their privilege log
entry for the document, which Defendants had refused to do believing wrongly that
doing so could waive their privilege, and the issue has now been teed up to the Court
in a way that it can be definitively decided.

On the merits, the Court finds that the email communications in the document
do not relate to the administration of the Arthur J. Gallagher & Company Severance
Plan or Plaintiff's eligibility for severance benefits under that Plan which are at issue
+n Plaintiffs Second Amended Complaint [ECF No. 172]. The document in question—
a series of four emails sent and received on January 8, 2020—relates to the drafting
of a separation agreement between Plaintiff and Arthur J. Gallagher & Company.
The subject or “re” line of each of the emails is “NO [presumably Plaintiff Norbert

Chung] agreement, version 2.1.” Plaintiff argues that one of the people on the email
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chain, Van McClellan, is a “functional fiduciary” of the Severance Plan and, therefore,
if the communications in the document relate to Plaintiffs eligibility for severance
benefits and/or administration of the Severance Plan, then the document should be
produced to Plaintiff under the fiduciary exception to any claimed attorney-chent
privilege. The fiduciary exception, Plaintiff argues, prevents Defendants from
shielding from Plaintiff otherwise privileged communications relating to his
eligibility for benefits under the Severance Plan or the administration of the Plan as
a Plan beneficiary.

Cutting to the chase, the Court need not decide whether Mr. McClellan is a
“functional fiduciary” of the Severance Plan for purposes of determining whether the
fiduciary exception applies to the communications in question. Even if Mr. McClellan
could be characterized as a functional fiduciary of the Severance Plan because of his
position as Vice President of Human Resources for Gallagher Benefits Services, as
Plaintiff argues and which the Court emphasizes it is not deciding on the current
record, so the fiduciary exception could apply under the might circumstances, the
communications contained in the emails to which Mr. McClellan was a party do not
relate to the administration of the Severance Plan or Plaintiffs eligibility for benefits
under that Plan. Rather, the communications relate to the drafting of a separation
agreement between Plaintiff and Defendant Arthur J. Gallagher & Company. Mr.
McClellan is the author or sender of two of the emails in the chain, and those emails
flow from what appears to be, at least in this context, Mr. McClellan’s role as a

draftsperson or scrivener of the agreement with Plaintiff referenced in the subject
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line,! Neither Mr. McClellan nor anyone else in the email chain says anything about
the administration of the Severance Plan or Plaintiff's eligibility for benefits under
that Plan. Therefore, even if some of the content of the email chain in the document
being withheld from production is relevant to one or more of Plaintiffs claims, which
is not disputed in the briefing of the Motion, the Court finds that the document is
protected by the attorney-client privilege (something that Plaintiff does not contest),
and it is not subject to production under the fiduciary exception to the privilege.

For the purpose of deciding whether the email communications in the
document relate to the administration of the Severance Plan, the Court does not agree
with Plaintiff that the concept of “plan administration” is as broad as he says it is.
Plaintiff does not cite case law or anything else to support his broad characterization
of what “plan administration” means, which he says “includes (but is not limited to):
a severance decision, Plaintiffs eligibility for severance, a determination of what
amount of severance would be due to Plaintiff, whether to communicate with Plaintiff
regarding severance, and the effect of severance on Plaintiff's other unvested equity.”
Motion [ECF Nos. 112. 118], at 10-11. That proffered definition conveniently seems
to cover everything involved in this case from Plaintiffs perspective. Whether that is

an appropriate definition or not, Mr. McClellan, who Plaintiff names as a “functional

1 During the status hearing on January 30, 2025, the Court misspoke and identified Mr.
McClellan as the author or sender of just one of the emails in the chain. He was the author
or sender of two of the emails. In neither of those emails, however, does he weigh in on or
engage with the legal advice being provided by Defendants’ inside lawyers. His role in the
email communications is to confirm that he will make the language changes in the agreement
being discussed by others in the email chain.
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fiduciary” of the Severance Plan, does not speak to or opine about any of the matters
that Plaintiff argues are part and parcel of plan administration nor is he asked to do
so by others on the email chain. Again, his presence in the email chain is due to his
role as scrivener or draftsperson of Plaintiffs separation agreement and not as a
fiduciary, functional or otherwise. See Brooks v. Pactiv Corp., 729 F.3d 758, (7th Cir.
2018) (“Fiduciary acts include, for example, the management and administration of
the plan the management and disposition of plan assets, the dispensation of
investment advice, and making benefits determination.”). In the Court’s view, this
resolves the issues that need to be resolved on Plaintiffs Motion.

Accordingly, for the reasons discussed above, Plaintiff's Second Motion to

Compel Production of Documents [ECF Nos. 112, 113] is denied.

It is so ordered.

Je rey T. Gitbert

United States Magistrate Judge

Dated: February 4, 2025
